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@ , |
1:17 MJ 3178
UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Matthew N. Fitzpatrick, a law enforcement officer with the Drug Enforcement
Administration (“DEA”), being duly sworn, deposes and states:

INTRODUCTION

1. I am employed as a Special Agent with the Drug Enforcement Administration
(“DEA”) Detroit Field Division, Cleveland District Office. I have been employed with DEA for
approximately 18 years, becoming a Special Agent in 1999, Prior to Affiant’s employment as a
DEA Special Agent, Affiant was a licensed attorney practicing in Ohio. As a Special Agent of
the DEA, I am an investigative law enforcement officer of the United States of America within
the meaning of Title 18, United States Code, Section 2510(7). As such, I am empowered to
conduct investigations of and to make arrests for offenses enumerated in Title 18 U.S.C. § 2516.

2. As a Special Agent of the DEA, I have received training at the DEA Academy in
Quantico, Virginia. I have received specialized instruction regarding narcotics, narcotics
trafficking, money laundering, and various techniques for investigating persons and
organizations engaged in this unlawful conduct. I have participated in numerous investigations
involving the organized distribution of illegal drugs and have made numerous arrests for drug-
related offenses.

3. By virtue of employment as a Special Agent, I have performed and continue to

perform various duties, including, but not limited to:
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a. Working in an undercover capacity principally for the purpose of purchasing drug
evidence;

b. Working in the capacity of a surveillance agent detecting and recording
movement of persons known to be or suspected of being involved in the illegal
drug traffic;

c. Working as a case agent directing the investigation of various illegal drug
traffickers and their organization, directing investigations involving complex
conspirators in which numerous drug traffickers located in various states, and
foreign countries were working in concert to illegally import, possess and
distribute illegal drugs within the United States.

4, Asa DEA Special Agent, I have also conducted online investigations, analyzed
pen register and telephone toll data, conducted Title III wiretap investigations, analyzed financial
records, executed controlled deliveries of controlled substances, interviewed witnesses, drafted
and executed search warrants, seized illegal drugs and other evidence of drug violations in
physical and electronic sources, processed seized evidence, supervised the purchase of controlled
substances by confidential sources, conducted undercover purchases of controlled substances in
person and online, and debriefed persons arrested and convicted of drug trafficking offenses
regarding their illegal activity.

5. Through investigation and training, | have become familiar with the types and
amounts of profits made by drug traffickers and the methods, language, and terms that are used
to disguise their illegal activity. I know that persons engaged in drug trafficking require

expedient forms of communication to maintain an adequate and consistent supply of drugs from
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sources, and to effectively market those drugs to customers. Individuals who buy and/or sell
controlled substances on online marketplaces often rely on one or more email addresses as a
means to facilitate this expedient communication.

6. Further, I know that wholesale narcotics distributors will frequently use more than
one source of supply in order to obtain the lowest price and/or to maintain a steady supply of
drugs. Professional drug distributors often provide drugs to associates on credit and receive
payment once the drugs are sold, a practice known as “fronting.”

7, Based upon my training and experience, I know that drugs are generally stored
and dispersed at varied, and highly secret, locations to avoid seizure and theft. Payment for
drugs usually occurs at quickly arranged meetings and at various locations separate from those
used to store the drugs. Telephonic and/or online contact is therefore required to coordinate and
conduct the ongoing illegal drug transactions. Email communication enables the professional
drug dealer to maintain constant contact with associates, drug suppliers, and customers. I know
that it is common for drug trafficking organizations (“DTOs”) to use online mediums such as
email or Skype to communicate with associates relating to the logistics of their drug trafficking
business. I am also aware that DTOs commonly use free email address that may require little or
no subscriber information. I also know that those involved in illegal drug operations or other
criminal conduct almost always use slang and/or coded language when communicating about
drug matters, and frequently subscribe to telephone, email, and Skype Account in the names of
others, or in completely false names, in an attempt to conceal their identities and illegal actions.

8. Your Affiant knows based on training and experiences those individuals who

traffic in one controlled substances such as U-47700, which is a fentanyl analogue, often traffic
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and possesses other controlled substances and controlled substance analogues, such as heroin,

bath salts, MDMA, cathinones, and mxe.

9. The information set forth in this affidavit is based upon your Affiant’s
participation in this investigation, the review of records, as well as upon information provided to
your Affiant by other law enforcement personnel. I am familiar with the facts and circumstances
of the offenses described in this Affidavit based upon my personal participation in the
investigation of the Target Account, as well as through information obtained from other law
enforcement agencies, witnesses, and reliable sources. Except as otherwise noted, the
information set forth in this Affidavit has been provided to me by agents and/or officers of the
Drug Enforcement Administration (“DEA”), United States Postal Service Inspectors (“USPIS”),
Homeland Security Investigations (“HSI), or other law enforcement officers. Unless otherwise
noted, whenever in this Affidavit I assert that a statement was made, the information was
provided by another law enforcement officer (who may have had either direct or hearsay
knowledge of the statement) to whom I have spoken or whose report I have read and reviewed.
Likewise, any information pertaining to vehicles and/or registrations, personal data on subjects
and record checks has been obtained through the Law Enforcement Automated Data System
(LEADS), the State of Ohio or the National Crime Information Center (NCIC), the Ohio Law
Enforcement Gateway (OHLEG) computer system, and other known database computer systems,
by members herein described.

10. Since this affidavit is being submitted for the limited purpose of establishing
probable cause, your Affiant has not included each and every fact known concerning this

investigation.
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11. Your affiant respectfully submits this affidavit in support of a complaint
establishing that, from on or about December 20, 2016 to on or about July 21, 2017, BIN WANG
has committed violations of federal law, including Title 21, United States Code, Section
841(a)(1), that is, knowingly and intentionally manufacturing, distributing and possessing with
the intent to distribute controlled substances and analogues of the same, such as U-47700, 4-CL-
PVP, Dibutylone, FUB-AMB, ADB-FUBINACA, and ADB-FUBINAGA Title 21, United States
Code, Section 843(b), that is, knowingly and intentionally using a communications facility in
furtherance of drug trafficking; Title 21, United States Code, Section 846, that is, attempt and
conspiracy to possess with intent to distribute and distribute controlled substances and analogues
of the same, such as U-47700, 4-CL-PVP, Dibutylone, FUB-AMB, ADB-FUBINACA, and
ADB-FUBINACA,; Title 21, United States Code, Section 952, that is importation of controlled
substances and analogues of the same, such as U-47700, 4-CL-PVP, Dibutylone, FUB-AMB,
ADB-FUBINACA, and ADB-FUBINACA,; and Title 21, United States Code, Section 545, that

is, smuggling goods into the United States.

PROBABLE CAUSE

12. Through the course of a multi-year investigation, DEA has identified GORDON
JIN, BING WANG, and others currently known and unknown are members of a multinational
conspiracy designed to distribute controlled substances and its analogues into the United States
in violation of Title 21, United States Code, Section 841(a)(1), that is, knowingly and
intentionally manufacturing, distributing and possessing with the intent to distribute controlled

substances and analogues of the same, such as U-47700, 4-CL-PVP, Dibutylone, FUB-AMB,
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ADB-FUBINAGA, and ADB-FUBINACA Title 21, United States Code, Section 843(b), that is,
knowingly and intentionally using a communications facility in furtherance of drug trafficking;
Title 21, United States Code, Section 846, that is, attempt and conspiracy to possess with intent
to distribute and distribute controlled substances and analogues of the same, such as U-47700, 4-
CL-PVP, Dibutylone, FUB-AMB, ADB-FUBINACA, and ADB-FUBINACA; Title 21, United
States Code, Section 952, that is importation of controlled substances and analogues of the same,
such as U-47700, 4-CL-PVP, Dibutylone, FUB-AMB, ADB-FUBINACA, and ADB-
FUBINACA: and Title 21, United States Code, Section 545, that is, smuggling goods into the
United States.

13. In particular, your affiant has learned through the course of the investigation that
BIN WANG has been operating a lab and/or warehouse in Massachusetts that acts as the chief
distribution point for the GORDON JIN DTO in the United States. Law enforcement has
intercepted or otherwise obtained emails from GORDON JIN describing his relationship with a
Massachusetts coconspirator who is his DTO’s distribution center for its clandestine operations
in the United States, Law enforcement has intercepted packages and received packages obtained
through controlled purchases from the GORDON JIN DTO that contain controlled substances
and its analogues (including U-47700, 4-CL-PVP, Dibutylone, FUB-AMB, ADB-FUBINACA,
and ADB-FUBINACA), many of which had BIN WANG’s name on them, Law enforcement
has also personally observed BIN WANG send some of these packages in the mail.
Additionally, law enforcement in an undercover capacity has spoken to BIN WANG on the
phone. During these conversations, WANG indicated that he had knowledge of GORDON JIN

and his organization, that he was aware that drugs such as ADB-FUBINACA were being sent in

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the packages WANG was receiving from JIN and then re-distributing in the United States, and
that Customs and Border Patrol had intercepted and seized some of these parcels, including an
undercover controlled purchase. Finally, on July 21, 2017, Affiant learned that BIN WANG was
attempting to flee the country by purchasing a “round trip” flight that very morning to Toronto,
Canada, even though the return flight was flying back to the United States on the same day and
only a short time after he landed.

14. In November 2015, the DEA Cleveland Resident Office initiated an investigation
of individuals suspected of purchasing fentanyl, fentanyl analogues, and other synthetic narcotics
from online sources located in China. A continuing epidemic of fentanyl, fentanyl analogues,
and synthetic narcotic fatal overdoses led to the identification of numerous Chinese online
sources of supply openly selling bulk quantities of fentanyl, fentanyl analogue, and synthetic
narcotics for mail delivery to Northeast Ohio drug traffickers. Many of these Chinese web sites
utilized the Internet and a myriad of shell companies to mask their activitics from United States
law enforcement. Subsequent efforts to enlist the direct assistance of Chinese law enforcement
have so far been unsuccessful.

19. In April 2016, DEA Agents identified a potential customer of Chinese online
narcotic sources. Agents subsequently located and seized a parcel from China addressed to this
individual. Following a search of the parcel by Homeland Security Special Agents, DEA
Agents seized approximately 100 grams of dibutylone, a synthetic stimulant Schedule I
analogue of butylone, commonly referred to as “bath salts.” DEA Agents initiated a controlled
delivery operation and delivered the parcel to the individual, who was briefly detained and

interviewed. The individual gave Agents a post-Miranda interview, identifying dozens of
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Chinese web sites selling kilogram amounts of fentanyl and fentanyl analogues such as
acetylfentanyl (aka “ace”), furanylfentanyl (aka “f-uf’) and U-47700 (also known as “pink
heroin”). The individual further described the coded language used to order synthetic narcotics
online and gave detailed assistance to Agents regarding wire transfers to China, online tracking
methods, and ways Chinese companies exploit the United States Postal Service to send
narcotics “under the radar” past United States law enforcement via China Post / Hong Kong
EMS ‘snail mail’ that does not utilize real-time tracking. Using information learned from the
individual, the DEA was able to initiate undercover online activities using undercover devices
and Affiant, acting in an undercover capacity, began communicating with various Chinese

sources of supply-via Skype chat and email accounts through the Chinese and Korean ‘trading

site’ www.ec21.com. The individual had identified the www.ec21.com website as one of the
most extensive web sites used for Chinese drug trafficking. The individual also identified other _
“trading” websites that sold synthetic narcotics, and advised Affiant on how to communicate
effectively with these web sites and hide Affiant’s law enforcement links online. In August and
September 2016, Affiant negotiated and then purchased several ounces of synthetic narcotics
from a Chinese online source while in an undercover capacity. The Chinese online source then
mailed the narcotics to an undercover post office box as requested by Affiant.

20. During the course of August and September 2016, in response to a rising death
toll in Northeast Ohio from hundreds of fentanyl and carfentanil overdoses, undercover agents

used their undercover identity to send several purchase inquiries through www.ec21.com,

specifically requesting prices and deliveries of carfentanil to Ohio. Carfentanil is a fentanyl

analogue that is several times stronger than fentanyl, which is itself several times stronger than

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heroin. Carfentanil is legitimately used in zoos as a large animal tranquilizer for large animals

such as elephants. Carfentanil is so powerful that only approximately two micrograms is a fatal

dose to humans. Several of the online sources replied to Affiant’s solicitations via email and
Skype chat with detailed carfentanil price lists, payment and delivery options. At no point did
any of the sources warn the undercover agent of the dangers of carfentanil, nor did they refuse
to sell the undercover agent carfentanil unless they were “already out of stock.” Several of the
sources that were “out of stock” offered to sell the undercover agent other lethal fentany!-based
analogues such as U-47700 as a “replacement.” U-47700, also referred to as “pink heroin,” is
another similarly powerful Schedule I opioid that has caused several fatal overdoses in
Northeast Ohio.

21. Several of the online sources that replied to Affiant’s inquiries were using
Chinese web domains or Chinese email servers and are thus currently beyond the reach of
United States Courts and subpoenas. However, some of the responding sources did utilize
United States based servers, Internet Service Providers (“ISPs”) and email addresses.

22. The website www.goldenre.com was advertising over 30 controlled substances,

including substances such as a-PVP, furanylfentanyl and U-47700. Affiant knows from

previous experience that www.goldenre.com was implicated as a source for fatal fentanyl

analogue overdoses in adjacent Summit County, Ohio in 2015.
23. On August 26, 2016, Affiant, acting under an undercover online name and email

account, submitted an inquiry through the website www.ec2 1.com, requesting a reliable

supplier of “RC” known in the online trades as “research chemicals,” or synthetic narcotics.
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24, In August 2017, Affiant had placed an “inquiry” (purchase solicitation) through

the website www.cc21.com, stating the following message: “Looking for a quality, reliable

supplier of RC. Have immediate need for replacement items. My associates and | are interested
in good purity and discreet shipping.”

25. On August 26, 2017, Affiant’s undercover email address received several
responses from various vendors, including the following electronic correspondence:

from GORDON JIN goldenchemical@live.com

to me
John

We are professional research chemicals manufacturer in China, our products are all best
quality, a lot of US and European customers purchase largely from us every month. Pls
tell me which products you wanna buy?

Regards,
Gordon

www.goldenrc,com

26.  Affiant researched the email address using the DEA NADDIS system and found

that goldenchemical@live.com had been the contact email for web site www.voldenrc.com, aka

Golden United Biotechnology, a website used to purchase acetylfentanyl that caused the
overdose deaths of two Summit County residents in 2015. Affiant also found that

goldenchemical@live.com was the contact email for the person(s) using screen name

“GORDON JIN,” at goldenchemical@live.com, which was used to purchase MDMA (cestasy)

ina Jacksonville, Florida DEA case in 2015.

1 For ease of reference, Affiant hereafter will refer to the user(s) of the goldenchemical@live.com and
sales@elobalre.net, recognizing that the user(s) may in fact have different name(s).

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27,  Affiant used an undercover computer and visited website www.goldenre.com, and

saw that the website advertised dozens of synthetic narcotics for sale, including lethal opioids
U-47700 and furanylfentanyl, the “bath salt” dibutylone (an analogue of Schedule I butylone),
FUB-AMB (a synthetic cannabinoid sold as “spice,” linked to dozens of overdoses), 4-CL-PVP
(an analogue of Schedule I narcotic a-PVP or “Flakka”) and 25I-NBOH (an analogue of
Schedule I psychedelic phenethylamine 2C-I).

28, On November 21, 2016, Affiant wrote to GORDON JIN at

goldenchemical@live.com:

to Gordon

We recently settled accounts and parted ways with our former supplier for CAS 59708-
52-0 and 3258-84-2 due to purity and reliability issues. We have an urgent need to
resume setvice as quickly as possible. Do you have CAS 59708-52-0, 3258-84-2 or even
121348-98-9 in stock? Please let us know.

29.  Affiant was inquiring about Chemical Abstracts Service (CAS) numbers 59708-
52-0 (Carfentanil), 3258-84-2 (Acetylfentanyl) and 121348-98-9 (U-47700). Affiant is aware
from previous online conversations that online traffickers often use the CAS number to avoid
directly asking for illegal or analogue substances, so as to avoid detection by law enforcement
keyword searches.

30. On November 21, 2016, Affiant received the following reply from GORDON

JIN, using goldenchemical(@live.com:

to me

59708-52-0 is carfentanyl, if we synthesize it for you, how many quantity you will buy?
3258-84-2 is acetylfentany], it's banned in China, we don't offer it. 121348-98-9 is U-
47700, we can offer it, how many quantity you wanna buy?

Regards,
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Gordon

www.oidenrc.com

31. On November 29, 2016, Affiant and MEDWAY investigators wrote to GORDON

JIN at goldenchemical@live.com:

to Gordon
Gordon,

Associates wood [sic] like a small amount of product before we proceed with a larger
order, do we may be certain of future sales.

What would be the total price (including shipping) for 10g 59708-52-0?
How do you accept payment?

Who do I send the payment to?

How do you ship the product and how is it packaged? (discretion is a must)
Do you guarantee delivery, or re-ship if package does not deliver?

Please let me know as soon as possible, We may be able to make this purchase happen
tomorrow or the next day.

32. On November 30, 2016, Affiant received the following reply from GORDON

JIN, using goldenchemical@live.com:

to me

I'm sorty, if you only buy 10g 59708-52-0, we will not synthesize it for you, cos quantity
is too small, if we synthesize it for you, we will suffer deficit.

We have 121348-98-9(U-47700) in stock, are you interested it?
Regards,
Gordon

www.coldenre.com

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33. On November 30, 2016, Affiant and MEDWAY investigators wrote fo GORDON

JIN at goldenchemical(@live.com:

to Gordon
How much for 50g U47700 (include shipping)
34. On December 1, 2016, Affiant received the following reply from GORDON JIN,

using goldenchemical@live.com:

to me

50g U-47700 is $500 USD, when will you order? How do you pay?
Regards,

Gordon

www. goldenre.com

35, On December 1, 2016, Affiant and MEDWAY investigators wrote to GORDON

JIN at goldenchemical@live.com:

How about 25g for $250 usd?
We can pay Buy Western Union or MoneyGram.

What is the name and location | am sending the money to? And what is the final price
including shipping, for 25g to Ohio, USA?

36. On December 1, 2016, Affiant received the following reply from GORDON JIN,

using goldenchemical(@live.com:

to me

25g you wanna buy is sample or formal order?
Regards,

Gordon

www.coldenre.com

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37. On December 2, 2016, Affiant received the following reply from GORDON JIN,

using goldenchemical@live.com:

to me

if you want sample, 2g is enough: to test. If formal order, minimum formal order quantity
is 50grams.

25g is sample or formal order? Can you pay by Bitcoin?
Regards,
Gordon

www .coldenrce.com

38. On December 6, 2016, Affiant and MEDWAY investigators wrote to GORDON

JIN at goldenchemical(@live.com:

to Gordon
Ok, how much for 2 grams? Who do I send it to?

39, On December 7, 2016, Affiant received the following reply from GORDON JIN,

using goldenchemical(@live.com:

tome

Cost of 2g sample of U-47700 is $80, do you pay by Bitcoin or money gram?
Regards,

Gordon

www.coldenre.com

40. On December 7, 2016, Affiant and MEDWAY investigators wrote fo GORDON

JIN at goldenchemical@live.com:

to Gordon

We can do MoneyGram. Who do we send the moneygram to, and where?

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41. On December 7, 2016, Affiant received the following reply from GORDON JIN,

using goldenchemical@live.com:

to me

Our money gram information are below:
First name: Guanghua

Last name: Zheng

Country: China

Pls tell me number, 100% right sender's name (first name, last name), amount and
country after you transfer money.

Pls also tell me 100% right and detailed address, recipient name and telephone number
for shipping.

Regards,
Gordon

www.goldenre.com

42, MEDWAY related to Affiant that per instructions from

eoldenchemical@live.com, he had sent $80.00 USD via MoneyGram to the DTO.
43. On December 8, 2016, Affiant and MEDWAY investigators wrote to GORDON

JIN at goldenchemical@live.com, stating, “Please ship the 2g sample of u47700 to the

following address,” providing the undercover account’s name and address, and “Please send me
an EMS tracking number when you ship, so we may retrieve it promptly.”

44, On December 8, 2016, Affiant received the following reply from GORDON J IN,

using goldenchemical@live.com:

fo me

OK, we will ship it a.s.a.p

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Regards,
Gordon

www.goldenrc.com

45. On December 9, 2016, Affiant and MEDWAY investigators wrote to GORDON

JIN at goldenchemical(@live.com:

to Gordon
Have you received payment?

46. On December 10, 2016, Affiant received the following reply from GORDON JIN,

using goldenchemical@live.com:

We will go to take money and ship on Monday. We can not take USD at weekend
according to China government's rule.

Regards,

Gordon

www. goldenre.com

47, On December 13, 2016, Affiant received the following reply from GORDON JIN,

using goldenchemical@live.com:

to me

My friend, pls give us a telephone number for shipping, we will ship by Fedex
Regards,

Gordon

www.goldenre.com

48. On December 13, 2016, Affiant and MEDWAY investigators wrote to GORDON

JIN at goldenchemical@live.com, providing the undercover account phone number to Jin.

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49. On December 14, 2016, Affiant and MEDWAY investigators wrote to GORDON

JIN at goidenchemical@live,com:

to Gordon
Did you receive my telephone number?

50. On December 16, 2016, Affiant and MEDWAY investigators wrote to GORDON

JIN at soldenchemical@live.com:

to Gordon
Tracking number, please?

51. On December 17, 2016, Affiant received the following reply from GORDON JIN,

using goldenchemical@live.com:

to me

We ship package to warehouse in USA at first, then ship to you by FedEx, track number
is 777976991899,

Regards,
Gordon

www.coldenrc.com

52. Based on this email and the evidence explained below in this affidavit, Affiant
believes that the “warehouse” is a “laboratory” run by BIN WANG in Massachusetts used to

send illegal drugs in the mail.

53. On December 20, 2016, Affiant received the following reply from GORDON JIN,

using goldenchemical(@live,con:

to me

[know you have already received sample, everything OK? Is the package opened by
customs or name card or paper notice put inside package?

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Regards,
Gordon

www,goldenre.com

54. Affiant believes that GORDON JIN was becoming concerned that the package
had been intercepted by law enforcement, and further believes that GORDON JIN was well
aware that the substances he was sending were illegal in the United States.

55. On December 20, 2016, MEDWAY Task Force Officer (TFO) Patricia Binthiff
picked up a FedEx priority overnight package #7779 7699 1899 from an undercover box in
Summit County, Ohio. This box was shipped from Benjamin WANG, c/o Cambridge
Chemicals, 5 Walnut Hill Park, Unit 13, Woburn, Massachusetts, 01801. The telephone
number 617-935-2742 was listed on the shipping label. Affiant subsequently issued a subpoena
to FedEx for the shipping details of the package.

56. When TFO Bintliff opened the package with MEDWAY Agents, they observed a

cardboard box contained within the outer box, labeled www.cambridgechemicals.com; located

inside this box was a sealed foil envelope package inside a number of Styrofoam packing
“peanuts.” Due to the potentially dangerous nature of the narcotics, TFO Bintliff did not open
the foil package. MEDWAY agents sent the items to the Ohio BCI&I laboratory for testing and
forensic analysis. Subsequently, Affiant received a BCI&I lab report that confirmed that this
package contained U-47700, a Schedule I opioid.

57, On December 20, 2016, Affiant and MEDWAY investigators wrote to GORDON

JIN at goldenchemical@live.com:

to Gordon

No. We’re OK. It wasn’t opened by anyone; the girl we sent to pick it up took her time.
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58. On December 21, 2016, Affiant received the following reply from GORDON JIN,

using goldenchemical@live.com:

to me

When will you have a formal order?
Regards,

Gordon

www. goldenrc.com

59. On December 21, 2016, Affiant and MEDWAY investigators wrote to GORDON

JIN at goldenchemical@live.com:

to Gordon

It will take a few days. It is holiday here, one of my associates is out of town.

60. On December 31, 2016, Affiant received the following reply from GORDON JIN,

using goldenchemical@live.com:
to me
My friend, we can offer U-47700 now, do you also wanna buy U-47700 from us?
Regards,
Gordon

www.goldenre.com

61.  Affiant noted that this email also included WhatsApp number +8618117528156.
Affiant sent a subpoena to WhatsApp for the account information connected to that number, but
WhatsApp has not responded to the subpoena.

62. On January 10, 2017, Affiant subsequently issued subpoena # I8-17-246646 to

AT&T for phone number 617-935-2742 found on the Cambridge Chemicals shipping label on
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the parcel containing U-47700; per AT&T, this number is subscribed to by Yan Zhou, 23
Harvard Street, Winchester, Massachusetts, 01890. AT&T records indicated Zhou is using
Yahoo email account CHEMWB@YAHOO.COM, and other telephone number 857-756-7569.
Affiant found that telephone number 857-756-7569 is a Google number (an untraceable
internet-based phone number that automatically forwards to a second phone).

63. On January 18, 2017, Affiant wrote to GORDON JIN at

goldenchemicali@live.com:

To Gordon

My associates and I are interested in obtaining more items. Do you have a
general list available?

64. On January 18, 2017, Affiant received the following reply from GORDON JIN,

using goldenchemical(@live.com:

to me

My friend, besides U-47700, during these time our hot sale products are 2- NMC, 4-CEC,
Hexen, Ephylone, 4F-PHP, 3-FPM, MPHP, 4-CL-PVP, Dibutylone and 4-
methylpentedrone, FUB-AMB, ADB-FUBINACA, 5F-MDMB-2201, MMB-
CHIMINACA, 5F-ADB, eitzolam and 25I-NBOH. Which products are you interested?

Regards, Gordon
www,.voldenre.com
whats app +86 18117528150.

65. Of the products listed, Affiant is aware that several of the products Jin listed are
Schedule I (U-47700) controlled substances or close analogues of Schedule I narcotics, such as
4-methylpentedrone, 4-CL-PVP, Hexen, Dibutylone, 4-CEC, ADB-FUBINACA, MMB-

CHIMINACA and 5F-ADB.

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66. On January 19, 2017, DEA Special Agent Tyler Parkison issued DEA
Administrative subpoenas to FedEx and FedEx Ground, requesting records of shipments to and
from the address found on the U-47700 package label: 5 Walnut Hill Park, Unit 13B, Woburn,
Massachusetts 08101, as well as shipments to Yan Zhou and BIN WANG at their residence
located at 23 Harvard Street, Winchester, Massachusetts.

67. FedEx Ground also replied that dozens of packages were delivered to “BIN
WANG/Daniel Lab, LLC,” “BIN WANG/Labnetwork, Inc.,” and “Ben WANG/Cambridge
Chemicals” were delivered to the 5 Walnut Hill Park, Suite 13 address. Many of these packages
were addressed from Chinese chemical companies, tech companies and United States-based
chemical companies.

68. Affiant conferred with Customs and Border Patrol (CBP) regarding the —
international travels of BIN WANG and Yan Zhou. CBP informed Affiant that immigration
records checks revealed that WANG had made several entries into the United States for the past
18 months, including several trips to and from China. CBP also informed Affiant that WANG
and Yan Zhou travelled together into Canada by vehicle as well.

69. Affiant reviewed Lexis-Nexis commercial databases and found that 5 Walnut Hill
Park, Unit 13, Woburn, Massachusetts 1801 is used by BIN WANG, and Yan Zhou, as are as a
properties located at 23 Harvard Street, Winchester, Massachusetts, 01890; 271 Cross Street,
Winchester, Massachusetts 01890. Neither WANG nor Zhou have a criminal record in the
United States.

70.  Affiant investigated further and found that the original website for

www.cambridgechemicals.com, with URL www.cambridgechem.com appeared to have been

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taken down or was not working. A Google cached version of the website listed its location in
Boston, Massachusetts with locations in Shanghai and NanJing, China. The site shows a catalog
for dozens of legitimate industrial chemicals, as well as links for “custom synthesis.”

71. Affiant examined Google Earth/Google Street maps and found that 23 Harvard
Street, Winchester, Massachusetts is a small, two-story frame house; 5 Walnut Hill Park appears
to be a small industrial park.

72,  Affiant contacted DEA Agents in the DEA Boston office, and requested
Massachusetts Driver’s License photos of BIN WANG and Yan Zhou, as well as photographs
of 5 Walnut Hill Park, Suite 13, Woburn, Massachusetts and 23 Harvard Street and 271 Cross
Street, in Winchester, Massachusetts. 5 Walnut Hill Park photos revealed a multi-unit single
story industrial park situated off the main road; no signage was visible in the photographs. The
photos for 23 Harvard Street included photographs of a white Mercedes-Benz registered to Yan
Zhou at that address.

73. On January 23,2017, Affiant wrote to GORDON JIN at

coldenchemicalfailive.com:

to Gordon
Do you have CAS 5485-65-4 or a similar replacement?

If so, please send me price quote (including delivery to Ohio) for 50g of CAS
5485-65-4,

Best wishes, |

Jack

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74.  Affiant knows that Chemical Abstract Service (CAS) number 5485-65-4 is a-pvp,
or Pyrrolidinopentiophone, commonly known as “flakka,” a powerful Schedule I cathinone
linked to dozens of violent psychotic overdose incidents. On January 24, 2017, Affiant received

the following reply from GORDON JIN, using goldenchemical@live.com:

fo me

Price of 50g 4-CL-PVP (CAS 5485-65-4) is $240 USD, when will you order? Do
you pay by Bitcoin, money gram, bank wire transfer and Western union?

Regards,
Gordon

www.goldenre.com
whatsapp +86 18117528156

75, On January 25, 2017, at approximately 3 pm, Affiant and Special Agent Tyler
Parkison went to the ETN Newsstand located at 1301 East 9th Street, Cleveland, Ohio, 44114,
where Affiant wired $240.00 usd OAF to Lonbao Zhang, China, per instructions from

soldenchemicali@live.com.

76. On January 25, 2017, Affiant informed JIN that he sent the money to the DTO.
77. On January 27, 2017, United States Magistrate Judge David A. Ruiz, of the

Northern District of Ohio signed a federal Search Warrant and Non-Disclosure Order for the

contents and data of Microsoft email account goldenchemical@live,com. The Warrant and
Order were forwarded to the DEA Investigative Technology Specialist team, who in turn
electronically served them on Microsoft, Inc. on January 30, 2017 at approximately 8:40 am

EST,

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78. On January 31, 2017, pursuant to a silent alert initiated at Affiant’s request, BIN
WANG was given a secondary inspection by Customs and Border Patrol (CBP) Officers at the
San Francisco International Airport. WANG was not alerted to the nature of secondary
inspection, During the interview, WANG stated that he is returning from one week business
trip to Shanghai, China to find investors for a pharmaceutical logistics business. WANG had
one shipment receipt from United States Pharmacopeial for 3 Polyurethane strips. WANG had
explained that the polyurethane strips are used for 3-D printing. WANG reported $300 USD
cash. WANG was admitted as a returning Canadian spouse of Yan Zhou. WANG stated that
he was laid off about 1 1/2 years ago when the company he worked for was acquired by Merck
& Co. WANG is currently in the country on a NAFTA visa as a dependent spouse and is not
allowed to have any employment.

79. WANG stated that his US address is 23 Harvard Street, Winchester,
Massachusetts, his email address is CHEMWB@YAHOO.COM, and his telephone number is
617-935-2742, the same number listed on the Cambridge Chemicals package sent to MEDWAY
investigators on December 20, 2016. No contraband was found in WANG’s possession or
luggage, nor was any evidence found relating to Cambridge Chemicals. WANG was permitted
to resume his travels and released.

80. On February 2, 2017, Affiant wrote to GORDON JIN at

goldenchemical/@live.com:

to Gordon

Hello! I hope you are enjoying your holidays.
Did you receive the funds I sent?

Just checking...

Jack
24

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81.

On February 4, 2017, Affiant recetved the following reply from GORDON JIN,

using goldenchemical(@live.com:

82.

fo me

We will go take the money on Monday. We will give you track number soon.
Regards,

Gordon

www.goldenrc.com

whatsapp +86 18117528156

On February 6, 2017, Affiant received the following reply from GORDON JIN,

using goldenchemical@live.com:

83.

to me

My friend, pls give me detailed address, recipient name and telephone number for
reshipping.

Regards,

Gordon

www.goldenrc.com

whatsapp +86 18117528156

On February 6, 2017, Affiant wrote to GORDON JIN at

goldenchemical@live.com, previding the undercover name, address, and telephone number.

84.

On February 7, 2017, Affiant received the following reply from GORDON JIN,

using goldenchemical@live.com:

To me

Dear Friend,

We will give you track number a.s.a.p.
Regards,

Gordon

25

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www. goldenre.com
whatsapp +86 18117528156

85. On February 8, 2017, Affiant wrote to GORDON JIN at

goldenchemical@live,com:

To Gordon
Is everything ok?

86. On February 9, 2017, Affiant received the following reply from GORDON JIN,

using goldenchemical@live.com:

To me

Your package is being sent to USA, we will give you track number after package
arrived in USA.

Regards,

Gordon

www.goldenre.com

whatsapp +86 18117528156

87. On February 14, 2017, at approximately 11:20 PM, Affiant received an email

from GORDON JIN at goldenchemical@live.com, notifying Affiant that a FedEx package was

en route to Affiant’s undercover address. Affiant checked the FedEx tracking for package #
7784 1878 2156, and saw that a package was en route from Woburn, MA to Northfield, Ohio.

88. On February 15, 2017, at approximately 12:30 pm, Affiant and MEDWAY Task
Force Officer Patricia Bintliff picked up a packing carton labeled

www.cambridgechemicals.com bearing FedEx tracking number 7784 1878 2156, shipped from

BIN WANG, Wonda Science, 5 Walnut Hill Park, Unit 13, Woburn, MA 01801 from the

undercover DEA UPS box. Affiant and TFO Bintliff transported this exhibit to the DEA _

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Cleveland District Office, where Affiant field tested it and achieved a positive result for
ecstasy/MDMA. This exhibit was sent to the DEA North Central Laboratory and was
subsequently confirmed to be 4-CL-a-PVP.

89. Affiant noted that inside the carton was a small ziplock baggie, addressed to
Affiant’s undercover name and address, containing small blue crystals. The outer FedEx label
noted that the package was shipped February 13, 2017 from Wonda Science, from the same
address used by Cambridge Chemicals on the previous shipment. Based on Affiant’s training
and experience, Affiant knows that drug traffickers frequently use fictitious names or change
their identifiers or company names frequently to avoid law enforcement detection and
interception.

90. Affiant consulted Google search online and found a web site for Wonda Science,
with a Chinese HO address of #701, Tianrun Building C, Changzhou Scientific and Education
Park, Changzhou, Jiangsu, 21364, China, telephone number 0086 519 81000586; fax 0086 519
8633 9826; and a US Site listed as 5 Walnut Hill Park, Suite 13, Woburn, MA 01801, telephone
number 504-444-2888, Further in the site, it lists Wonda Science’s “partners” as ALLICON
PHARMA, DANIEL LAB LLC and CAMBRIDGE CHEM. Affiant recognized DANIEL
LAB, LLC and CAMBRIDGE CHEM as companies using the 5 Walnut Hill Park location and

associated with GORDON JIN and www.goldenre.com. The Wonda Science web site lists over

5,000 chemicals for sale and offers “custom synthesis.”

91. On 3/7/17, Affiant wrote to GORDON JIN at goldenchemical@live.com:

To Gordon

Would you please send me a price quote for a kilogram of 17763-12-1, including
shipping to Ohio, USA?

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Warmest Regards,
Jack

92,  Affiant deliberately requested CAS number 17763-12-1, dibutylone, an analogue
of Schedule I ephylone, a synthetic cathinone commonly referred to as “bath salts,”
93, On March 7, 2017, Affiant received the following reply from GORDON JIN,

using goldenchemical@live.com:

To me
Jack

17763-12-1 is dibutylone, 1kg is $1,300 USD including shipping cost to USA, we
will reship in case package get seized by customs, when will you order? Do you
pay by bitcoin, money gram, bank wire or western union this time?

Please send reply to our new email later, it’s sales@globalre.net.
Regards,
Gordon

www. globalrc.net

whatsapp +86 18117528156

94.  Affiant queried online open source search engines and found that the website for

www.goldenrc.com had been taken down, with only a Chinese character error message in its

place, and that a new website, www.globalre.net was active, listing contact email address

goldenchemical@live.com and WhatsApp number +86 18117528156. Affiant believes that this

was an attempt to thwart law enforcement by switching traffic to the www.globalre.net and a

non-United States-based email address sales@globalre.net, which according to open source

Whois checks is based in Hangsu, China.

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95.

On March 8, 2017, Affiant wrote to GORDON JIN at sales@globalre.net and cc’d

to goldenchemical@live.com:

96,

To Gordon

How much for % kilogram of that item?

Why the switch in email? Is there something I should know?
Would be WU again

On March 8, 2017, Affiant issued a subpoena to WhatsApp for telephone number

+86 18117528156. Affiant has not received a reply from WhatsApp at this time.

97.

On March 8, 2017, Affiant received the following reply from GORDON JIN,

using goldenchemical(@live.com:

98.

To me

500g dibutylone is $700 USD, our WU information are below:
Firstname: Songyan

Lastname: Ji

Country: China

Pls tell me MTCN, 100% right and detailed address, recipient name and telephone
number for shipping.

We changed our email cos new email looks more formal, our websit [sic] is
www.globalre.net

Regards,
Gordon

www.globalre.net

whatsapp +86 18117528156

On March 9, 2017, Affiant wrote to GORDON JIN at sales@globalre.net:

Is this Gordon?
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99,

This is Jack

On March 10, 2017, Affiant received the following reply from GORDON JIN,

using sales(@globalrc.net:

100.

To me

Yes, my friend, may I help you?
Kind regards,

Gordon

www.clobalre. net

whatsapp +86 18117528156

On March 14, 2017, Affiant received returned DEA Administrative subpoena #

18-17-436550 information from FedEx regarding parcel number 777976991899, the U-47700

shipped to MEDWAY investigators, which had been shipped by “BIN WANG” from a FedEx

drop box serial number 4599650 on 12/16/16. Affiant later learned from FedEx representatives

that the FedEx drop box serial number 4599650 is located at 50 Cross Street, Winchester,

Massachusetts, 01890. Affiant checked online through Google maps and saw that this FedEx

box is located nearly equidistant from BIN WANG’s known addresses of 271 Cross Street and

23 Harvard Street, Winchester, Massachusetts.

101.

On Match 15, 2017, Affiant wrote to GORDON JIN at sales@globalre.net:

To Gordon

Gordon,

L expect we will remit payment tomorrow via WU.
700 usd for 500g Dibutylone.

Who are we sending it to, and where?

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Your friend,
Jack

102, On March 15, 2017, Affiant received the following reply from GORDON JIN,
using sales(@globaire.net:

To me

OK, our WU information are below:
First name: Songyan

Lastname: Ji

Country: China

Pls tell me MTCN, 100% right and detailed address, recipient name and telephone
number for shipping.

Kind regards,
Gordon

www.clobalrc. net

whatsapp +86 18117528156
103. On March 16, 2017, at approximately 3:50 pm, Affiant and DEA Special Agent
Tyler Parkison went to the ETN Newsstand located at 1301 East 9th Street, Cleveland, Ohio,
44114, where Affiant wired $700.00 to Songyan Ji, China,

104. On March 16, 2017 Affiant received the following reply from GORDON JIN,
using sales@eglobalrc.net:

To me
Ok, we will go take money and ship a.s.a.p.

105. On March 22, 2017, Affiant wrote to GORDON JIN at sales@globalre.net, and
cc’d his account on goldenchemical@live.com:

To Gordon

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106,

Dear Friend,

Please send a tracking number when available, so we may promptly pick up the
item.

Regards,
Jack

On March 23, 2017, Affiant received the following reply from GORDON JIN,

using sales@globalre.net:

107.

To me

Your package is being sent to USA
Kind regards,

Gordon

www. clobalre.net

WhatsApp: +86 18117528156

On Match 24, 2017, Affiant received the following reply from GORDON JIN,

using sales(@globalre.net:

To me
My friend, fedex track number of 500g dibutylone is 778731044324.

You can operate on fedex website to make package waive signature. If you don’t
know how to operate, please call to fedex to ask them.

Kind regards,
Gordon

www.globalire.net

WhatsApp: +86 18117528156

106. On March 31, 2017, Affiant and Task Force Officer Robert Butrey travelled to the UPS

Store located at 154 East Aurora Road, Northfield, Ohio 44067, where Affiant retrieved a FedEx

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parcel bearing tracking number 7787 3104 4324 from the counter, which was too large to fit
inside the undercover UPS box #117. This parcel was addressed to the same undercover name
and address Affiant provided to Jin, and had been sent from “BIN WANG, Wonda Science, 5

Walnut Hill Park, Suite 13, Woburn, MA 01801, US, 508-444-2888.”

107. Affiant and TFO Butrey transported the package to the DEA Cleveland District
Office, where Affiant photographed the package, the opened it and photographed the contents.
Inside the FedEx box, Affiant found a large heat sealed foil envelope, bearing the label, with the
undercover name, address, and phone number provided to Jin with “500g” on the line next to that
information, above which was written in black marker, the undercover name. When Affiant
opened the foil pouch, he smelled a strong chemical odor, and found inside the foil pouch a clear
ziplock bag, containing large pink crystals. Affiant performed a NIK field test on shavings from
one of the crystals and received a positive indication for MDMA (Ecstasy). Affiant recently
received results from the North Central Laboratory that confirmed that package was Dibutylone,

an analogue of Schedule J Butylone, commonly known as “bath salts.”

108. On March 31, 2017, Affiant wrote to GORDON JIN at

goldenchemical@live.com:

To Gordon
Dear Friend,
_We received the item today.
Thank you
Warmest Regards,

Jack
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109. On April 2, 2017, Affiant received the following reply from GORDON JIN, using

voldenchemical@live.com:

To me
Ok imy friend

Please send your reply to our new email later, it’s sales@globalre.net

Kind regards,
Gordon.

www.globalre.net

WhatsApp: +86 18117528156

110. On April 18, 2017, Affiant wrote to GORDON JIN at goldenchemical@live.com:

To Gorden

Did you send me another package? There’s one in our box and I wanted to know if it

was from you before we picked it up. Samples?

Affiant did not get an additional package, but was rather contacting JIN to see how the user(s)

would respond.

111. On April 18,2017, GORDON JIN wrote back to Affiant via

goldenchemical@live.com:

To me

My friend, you ordered 500g dibutylone in March, we shipped it to you by Fedex,
track number is 778731044324

Please send reply to our new email later, its sales@globalrc.net

Regards,

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Gordon

www.globalre.net

whatsapp; +8618117528156

112. On April 21, 2017, United States Magistrate Judge David A. Ruiz signed a 30-day
Cellular GPS Tracking Order for location of AT&T cellular telephone number 617-935-2742, a
number known to be used by BIN WANG.

113. Affiant processed this Order through AT&T systems and the first intercept came
through on April 21, 2017 at approximately 16:24:26 EST. However, Affiant received
responses indicating that the device was not searchable. Affiant subsequently contacted AT&T
and was informed that the device was possibly out of the country, as it was not connecting to
the AT&T network anywhere inside the United States. Affiant further contacted HSI Special
Agent Timothy Stark and was informed that WANG had flown to China and was due back in
the United States on April 30, 2017.

114. On April 24, 2017, Affiant emailed GORDON JIN via sales@globalre.net and

copied goldenchemical@live.com:

To Gordon

Any chance you could get us a similar compound?

New product:

5F-AB-FUPPYCA (AZ-037) 2000$/Icg

It’s a quote from a competitor.

Kindly let me know. I would rather go with a known, reliable supplier like you.
Warmest Regards,

Jack

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115. On April 25, 2017, Affiant received the following reply from GORDON JIN at

sales(aiglobalre.net:

_To Jack

My friend, we don’t offer SF-AB-FUPPYCA, But we can offer its analogue, ADB-
FUBINACA, AMB-FUBINACA, MMB-CHMCA, 5F-ADB, 5F-MDMB-2201, they all
belong to the synthetic cannabinoid, we sell them in big quantity every month, do you
wanna have a sample?

Kind Regards,

Gordon

www.globalrc.net

WhatsApp +86 18117528156

Affiant knows from his training and experience that the chemical family of FUBINACA,
ADB and AMB synthetics are designer cannabinoid drugs, several of which are either

Schedule I controlled substances or analogues of Schedule I controlled substances.

116. On April 25, 2017, Affiant emailed GORDON JIN via sales@globalre.net and

copied goldenchemical@live.com:

To Gordon
Dear Friend,
We are always interested in new business opportunities.

What do you need from us for a sample of your analogue?

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Cordially,

Jack

117. On April 25, 2017, Affiant received the following reply from GORDON JIN at

sales@clobalre.net:

To me

Jack

We can offer samples, pls tell me how many gram sample of each you wanna buy?
Kind Regards,
Gordon

www.globalre.net

WhatsApp +86 18117528156

118. On April 30, 2017, Affiant and HSI Special Agent Timothy Stark arranged for
BIN WANG to be given a secondary inspection by Customs and Border Protection Inspectors
upon WANG’s arrival at Boston Logan International Airport on a flight from Shanghai, China.
During the course of the inspection, CBP inspectors photocopied several documents in
WANG’s possession. Examination of these documents showed that while mane of the notes
were in Chinese language, there were also several entries in English. Affiant forwarded the
documents to DEA intelligence analysts for translation but has not received the translations

back at this time. Affiant examined the English language notes and found several bank cards

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for both United States and Chinese banks; several mixed Chinese and English language notes
referencing “Cambridge Chemicals,” “our lab,” “FedEx” “supplies” “solvent” “Huliang
WANG,” “Bank Of China,” “SWIFT: BKCHCNBJ940” (believed to be the SWIFT code for the
Bank of China branch located in Nanjing, China. SWIFT is bank routing number code, used for
transferring money between foreign banks), “Deposit 30/90 net” “Assay Depot” (an online
scientific research marketing website). Affiant also noted several business cards, including a
business card for Yan Zhou, C.P.A., at Walsh & Co. Accountants, listing telephone number
781-721-0295; business cards for several pharmaceutical and chemical engineering firms
located in China; BIN WANG’s Massachusetts driver’s license; and a Delta Airlines Skymiles
card in the name of BIN WANG.

119. On May 1, 2017, Affiant emailed GORDON JIN via sales(@globalrc.net and

copied goldenchemical(@live.com:

To Gordon

Dear Friend,

A pleasure to hear from you.

Please send us a price quote for a 50g sample of ADB-FUBINACA including shipping to
Ohio, USA.

Warm regards,

Jack

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120. On May 1, 2017, Affiant received the following reply from GORDON JIN at

sales(@iglobalre.net:

To me
Jack

Price of 50g ADB-FUBINACA is $270 USD, do you pay money gram, bitcoin or
western union?

Kind Regards,

Gordon

www.globalre.net

WhatsApp +86 18117528156

121. On May 10, 2017, Affiant received the following reply from GORDON JIN at

sales(@elobalrc. net:

To me

Do you also buy 500g dibutylone at this time? Our western union information are below:
First name: Somgyan

Last name: Ji

Country: China

Please tell me MTCN, 100% right sender’s name(first name/last name), amount and
country after you transfer money,

Pis also tell me 100% right and detailed address, recipient name and telephone number
for shipping.

Kind regards,

Gordon

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www, globalre.net
WhatsApp +86 18117528156
122. On May 11, 2017, Affiant emailed GORDON JIN via sales@globalre.net and

copied goldenchemical@live.com:

Dear Friend,
We are ready to order. We will just get the 50g ADB-FUBINACA sample we had
discussed.
Is the $270 USD price still in effect’
Please let us know
Thank You,
Jack
123. On May 11, 2017, Department of Homeland Security Customs and Border Patrol

Inspectors at the FedEx hub located in Indianapolis, Indiana performed a border search on an
international FedEx package bearing FedEx parcel # 7277 0965 0632, which was addressed
Chemcloud, Inc., 5 Walnut Hill Park, Suite 13, Woburn, Massachusetts 01801. This parcel had
been shipped from “Jason Yen,” 509-2 Building C, Changzhou, Tianan City, China. CBPO
inspectors opened the parcel and discovered approximately | kilogram of an off-white powder.
Laboratory examination of the contents revealed that it was approximately 1 kilogram of FUB-
AMB, an analogue of synthetic cannabinoid AMB-FUBINACA. The package was seized and
only after the seizure did Affiant learn of the shipment.

124, On May 11, 2017, Affiant received the following reply from GORDON JIN at

sales(@olobalre.net:

Yes, in effect. Do you pay by money gram, bitcoin or western union this time?
Kind regards,

Gordon

www.globalre.net

WhatsApp +86 18117528156

4 0 4

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125. On May 15, 2017, Affiant and DEA Special Agent Tyler Parkison travelled to the
ETN Newsstand located at 1301 East 9th Street, Cleveland, Ohio, 44114, where Affiant wired

$270.00 usd to Songyan Ji, China, per instructions from GORDON JiN-at sales@globacire.net.

126. On May 15, 2017, Affiant emailed GORDON JIN via sales@globalre.net and

copied goldenchemical@live.com:

Dearest friend,

[...] This is for the 50g sample of ADB-FUBINACA. Please let us know when your
representative receives payment.
Warinest regards,

Jack
127. On May 15, 2017, Affiant received the following reply from GORDON JIN at

sales(@vlobalre.net:

My friend, please give me detailed address, recipient name and number for shipping.
Kind regards,
Gordon
www.globalre.net
WhatsApp +86 18117528156
128. On May 16, 2017, Affiant emailed GORDON JIN via sales@globalre.net and

copied goldenchemical@hve.com:

That’s good news.
Please ship the unit to:
[undercover address]
Please provide a tracking number when possible.
Best wishes,
Jack
129. On May 17, 2017, DEA Task Force Officer Paul Callahan initiated surveillance of

WANG?’s residence at 23 Harvard Street, Winchester, Massachusetts. TFO Callahan observed
Yan Zhou exit the residence, entered her Mercedes and TFO Callahan observed Zhou drive to

the Cummins Park FedEx store. This is the same FedEx store location that Affiant had
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observed (via recorded video) BIN WANG drop off the 4-CL-PVP that Affiant had purchased.
TFO Callahan and a partner photographed Zhou as she brought two FedEx packages into the
store, all the while talking on her cell phone. Affiant queried the Precision Tracking of
WANG’s phone, and found that BIN WANG’s celi phone was located at Boston’s Logan
International Airport. Affiant checked with HSI Special Agent Tim Stark and found that
WANG was booked on a flight from Boston Logan International Airport to Chicago, then on to
Shanghai that same day. TFO Callahan’s partner, standing behind Zhou in line, overheard Zhou
mail one small brown box and one larger FedEx box out, with one package going to Canada,
and one shipped domestically. Zhou asked the counter clerk several questions regarding
shipping the international package, and told the clerk she was shipping them for her husband,
who was out of town. Affiant checked the Precision Tracker later and noted that the tracker
returned an “unable to locate” message, meaning that the device was no longer on a United
States cellular network. Affiant is still awaiting a FedEx subpoena to find out where the boxes
were shipped and whether they were shipped via the Wonda Science FedEx account,

130. On May 19, 2017, United States Magistrate Judge David A. Ruiz signed a 30-day
renewal-of the Cellular GPS Tracking Order for location of AT&T cellular telephone number
617-935-2742, a number known to be used by BIN WANG,

131. On May 22, 2017 United States District Court Judge Donald C. signed a 30-day

Title HI intercept Order for live interception of Microsoft email account

goldenchemical@live.com. Affiant processed this Order through DEA’s IMPACT systems and

the package and Orders were delivered to Microsoft on May 25, 2017. Live interception began

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on June 2, 2017, retroactive to May 26, 2017, at 21:47 hrs., when the first complete email was
provided.

132. On May 26, 2017, at approximately 21:45 GMT, the goldenchemical@live.com

received an email from “Craig Stinson” using email address CStinson@mozrrissouth.com:

Re: Dibutylone

Wht (sic) is the best way I usually use western union I need your shipping info

Sent from my iPhone

Due to the sender using the “send and reply” feature on the iPhone they were using, past emails
in the chain or “thread” were also captured, including: An email dated May 23, 2017, at 4:08

GMT, GORDON JIN using the goldenchemical@live.com wrote to CStinson@morrisouth.com:

My friend, sorry to reply later. Yes, price is still $240 USD, do you still pay money gram

this time? Please send reply to our new email later, it's sales(@globalrc.net.

Regards,
Gordon

www.clobalrc.net

whatsapp:+86 18117528156

www.goldenre.com

CStinson(@morrissouth.com.

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Affiant believes that “Craig Stinson” using the company email of Morris South, Inc. a CNC
manufacturing company with locations in Charlotte, North Carolina and Huntsville, Alabama, is
attempting to purchase $240.00 worth of Dibutylone, an analogue of Schedule I Butylone, from

GORDON JIN via the eoldenchemical@live.com. Affiant further believes that GORDON JIN is

pushing customers to the encrypted ProtonMail account sales@globalrc.net.

133. Affiant queried “Craig Stinson” in open source internet sites and located “Craig
Stinson” in Union Hill, Alabama. According to Craig Stinson’s Facebook postings, Craig
Stinson is the brother of Randall Stinson, who lists employment on his Facebook page at Morris
South metal fabricating shop in Alabama. The Morris South Company email addresses bear the
suffixes, “ | @morrissouth.com.”

134. On May 29, 2017, at approximately 3:33 GMT, the goldenchemical@live.com

received an email from “Krysti Hallett” using email address krystihd@gmail.com:

Hello I had lost my cell n computer but still want to try some if your

products like the 4Fphp

Due to the user utilizing the “send/reply” feature, past emails in the chain or “thread” were also
captured, including: An email dated November 20, 2016 at 2:14 GMT, “GORDON JIN,” using

ooldenchemical(@live.com wrote:

2 weeks passed, when will you order sample of 4F PHP?

Regards,

Gordon

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www.goldenre.com

An additional email was including in the thread, from “Krysti Hallett” using email

address krystihd@gmail.com:

To GORDON JIN

Re: Sorry I mean the 4fphp

An additional email on October 25, 2016 at'12:14 GMT from “GORDON JIN” using

goldenchemical@live.com to krystih4@email.com
Sorry, pls transfer money to another western union name, it’s below:
First name: Longbao
Last name: Zhang
Country: China

Pls tell me MTCN, 100% right sender's name (first name, last name), amount and country
after you transfer money. Pls also tell me 100% right and detailed address, recipient name

and

telephone number for shipping.
Regards,

Gordon

www, soldenrc.com

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Affiant knows that “Longbao Zhang” is the same name that Affiant, acting in an undercover
capacity, wired money to for prior controlled purchases of synthetic narcotics from “GORDON
JIN,” and further knows from his training and experience that 4F-php is an analogue of Schedule
La-PVPV, or “flakka,” a powerful synthetic “bath salt” that has been linked to violent and

psychotic behavior.

135. Affiant investigated further and found a “Krysti A. Hallett,” 327 Park Street,
Rockland, Maine, 0484, with a date of birth of July 11, 1983. DEA Intelligence Analyst Myra
Reed ran a deconfliction request through the Ohio High Intensity Drug Trafficking Agency
(“HIDTA”) databases, and found a Krysti Hallett under investigation in Maine and Affiant then
contacted DEA Agent Harry R. Tideswell III in the Portland, Maine office, who informed
Affiant that Krysti Hallett is a subject that has been under investigation for the sale of synthetic
cathinones, commonly referred to as ‘bath salts.’

136, On June 5, 2017, Affiant and Task Force Officer (““TFO”) Lori Baker-Stella
travelled to the UPS Store located at 154 East Aurora Road, Northfield, Ohio 44067, where the
attendant handed Affiant a FedEx package bearing FedEx tracking number 7792 4511 0394.
Affiant noted that the return address label read: BIN WANG, WONDA SCIENCE, 5 Walnut
Hill Park, Suite 13, Woburn, MA 01801, with telephone number 617-418-3 888.

137. Affiant checked the telephone number 617-418-3888 in Google and found listings

to 1Chem, a company known to be used by BIN WANG; links to sales@1chem.org, and a

website for www.lchem.org, which lists contact information of 5 Walnut Hill Park, Suite 13B

Woburn, Massachusetts, 01801, telephone number 617-418-3888. Affiant noted that the

website uses similar fonts, coloring and structure as the website for CAMBRIDGE

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CHEMICALS. Affiant and TFO Baker-Stella transported the package to the DEA Cleveland
District Office, where Affiant, witnessed by TFO Baker-Stella, performed a NIK field test on
shavings from the inside baggie and received a positive indication for MDMA (Ecstacy).
Affiant photographed the inside foil pouch, which bore the name “John O’Neil,” and “50g,” and
a label which read: “John O’Neill, [undercover address], 50g.” Affiant noted that the
handwriting and packaging appeared to be the same as other previously purchased packages,
and the !-kilogram of FUB-AMB synthetic cannabinoid seized by DHS on May 11, 2017 in
Indianapolis, Indiana.

138. On June 14, 2017, at approximately 3:07 pm, Affiant, witnessed by TFO Baker-
Stella, used an undercover cell phone and a covert recording device to call 617-418-3888, the

number for sales@1chem.org and BIN WANG, supplied on the return address label for the 50

grams undercover controlled purchase delivered to Affiant on June 5, 2017. A male voice
answered the phone, your Affiant hung up.

139, On June 15, 2017, the Hon. Magistrate Judge David A. Ruiz, of the Northern
District of Ohio, signed a 30-day Cellular GPS Tracking Order second renewal for location of
AT&T cellular telephone number 617-935-2742, a number known to be used by BIN WANG.

140. Affiant processed this Order through AT&T systems and the intercepts continued.
Data was maintained in the attached email account the data was transferred to via AT&T.

141. At the time of the renewal, the cellular telephone used by BIN WANG was
located at or very near his residence located at 23 Harvard Street, Winchester, Massachusetts.
The cellular telephone travelled to areas of Woburn, Massachusetts, Malden Massachusetts,

downtown Boston, and then on to Boston Logan International Airport, where BIN WANG flew

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out via Delta Airlines on June 21, 2017, with a final destination of Shanghai, China. Due to an
internal error, AT&T did not process the GPS tracks for the period of June 21-28". however,
Affiant has been informed by Homeland Security Investigations Special Agent Timothy Stark
that BIN WANG is slated to return to the United States via commercial air on July 14" 2017.
142. On July 5, 2017, Affiant was informed by Homeland Security Investigations
Special Agent Timothy Stark that a shipment bound for BIN WANG at 5 Walnut Hill Park,
Woburn, Massachusetts 01801 had been seized by United States Customs and Border Patrol
inspectors at the Indianapolis, Indiana FedEx hub on May 16, 2017. This was a FedEx parcel
bearing tracking number 7791 0327 0912, sent from “Jason Yen”, 509-2 Building C.
Changzhou Tianan City, Changzhou, JS 213164, sent to BIN WANG, Chemcloud, Inc., 5
Walnut Hill Park, Suite 13, Woburn, MA 01801, telephone number 617-935-2742 (the
TARGET NUMBER), While Affiant only learned of the seizure recently, laboratory analysis
confirmed that the substances contained inside were 4'-methyl-alpha-pyrrolidinohexanophenone
HCI (aka 4'-methylalpha-PHP, an unscheduled new analogue of Schedule I a-PVP, or “flakka”,
a synthetic cathinone), and 4'-fluoro-alpha-pyrrolidinohexanophenone HCI (aka 4"-fluoroalpha-
PHP, an unscheduled new analogue of Schedule I a-PVP, or “flakka”, a synthetic cathinone).
The customs declaration submitted at the time of shipment by “Jason Yen”, was written on
Wonda Science letterhead and had declared the shipment to be an inert chemical that was not
either 4'-fluoro-alpha-pyrrolidinohexanophenone or 4'-fluoro-alpha-pyrrolidinohexanophenone.
Affiant has received undercover purchases of Schedule I synthetic narcotics and Schedule I

analogues from ‘Wonda Science” on previous occasions.

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143. On June 28, 2017, DEA Special Agents and Task Force Officers from the Boston
office conducted surveillance on 5 Walnut Hill Park to find a suitable location for a pole camera
on the building. Affiant checked the GPS PING and noted that BIN WANQ’s cellular
telephone was out of the AT&T service area (which covers most of the United States), and
yequested that a DEA undercover Agent enter the premises to see what was inside. A DEA
Special Agent, acting in an undercover capacity, entered the 5 Walnut Hill Park facility and
made a detailed surveillance of the inside of the building and the facilities before a heavy set
Asian male confronted the Agent, who then gave an excuse and left the premises.

144, On June 29, 2017 the Hon. Judge Donald C. Nugent, of the Northern District of
Ohio, signed a 30-day Title [II intercept renewal Order for additional live interception of

Microsoft email account goldenchemical@live.com. Affiant processed this Order through

DEA’s IMPACT systems and the package and Orders were delivered to Microsoft on July 2,
2017. Live interception began on July 7, 2017, retroactive to July 4, 2017, at 10:08:23 hrs.
GMT, when the first complete email was provided.

145. On July 5, 2017, Affiant and DEA Special Agent Tyler Parkison travelled to the
Erieview Newsstand located at 1301 East 9th Street, Cleveland, Ohio 44114, for the purpose of
sending $1,900.00 to Guanghua Zheng, the designated recipient of GORDON JIN at

goldenchemical@live.com and sales@globalrc.net . Affiant had previously used his undercover

email account to negotiate the purchase price of 1 kilogram of ADB-FUBINACA, a Schedule I

synthetic cannabinoid, from GORDON JIN via goldenchemical(@live.com and

. sales(@globalrc.net.

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146. Upon completion of the telephone contact with WU representatives, the clerk
refused to wire the money, and told Affiant, “I don’t want to get audited...please, go
somewhere else.” Affiant attempted to convince the clerk to send the funds, but the clerk would
not complete the transfer.

147. Affiant and Special Agent Parkison walked across the street to the CVS store
located at 1400 East 9th Street, Cleveland, Ohio 44114, to use the MoneyGram kiosk.

However, the MoneyGram representative at the kiosk also refused to send the wire transfer.

148. OnJuly 5, 2017, at approximately 4:26 pm, Affiant, acting im an undercover

capacity, sent the following message to GORDON JIN at goldenchemical(@live.com and also

ce’d to sales(elobalre.net :

Dear Friend,
We just tried sending you representative the wire for 1900.00, but both W/U and M/G
refused to do the transfer.

We used two different people, so there’s no issue over here.
Any ideas?

Your friend,

Jack

149, On July 5, 2017, at approximately 1:44 pm, GORDON JIN replied to Affiant’s

undercover account via sales@)globalre.net:

Jack

Can you pay by bank wire transfer or bitcoin? Or I give you another name of money
gram?

Kind regards,

Gordon

www.globalrc.net

WhatsApp: +86 18117528156

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150. On July 6, 2017, at approximately 1:07 am, , Affiant, acting if an undercover

capacity, sent the following message to GORDON JIN at sales@globalre.net, ccd to

goldenchemical@live.com :

Should we send it in pieces?
Or can you give me an account # and bank to send it to?
Jack

151. On July 6, 2017, at approximately 1:45 am, GORDON JIN replied to Affiant’s

undercover account via sales(@globalre.net :

You can try to divide into several money if transfer money by moneygram.

Pls do not label the money is for buying adb-fubinaca when you transfer moncy, don’t
label any chemical name, otherwise I worry the account will be cancelled. I suggest that
you label it as tuition fee or Family maintenance when transfer money, our bank
informations are below: (bold type by GORDON JIN):

Beneficiary Name: Zheng Guanghua

Bank Name: China Merchants Bank Hong Kong Branch

Account number: 6212998605901756

Swift code: CMBCHKHH

Address: 21/F, Bank of America Tower, 12 Harcourt Road, Central Hong Kong

Pls tell me sender’s name after you transfer money

Pls also tell me 100% right and detailed address, recipient name and telephone number
for shipping.

Kind Regards,

Gordon

www.globalre.net

WhatsApp: +86 18117528156

152. On July 6, 2017, at approximately 2:07 pm, Affiant, acting in an undercover

capacity, sent the following message to GORDON JIN at goldenchemical@live.com:

Dear Friend,

We just went to a different location and sent you a WU gor [sic] $1900 usd to:
GUANGHUA ZHENG

CHINA

MTCN: 659-724-8809

Kindly advise when your representative picks this up.

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Kindest regards,
Jack

153, On July 9, 2017, at approximately 9:46 am, GORDON JIN replied to Affiant’s

undercover account via sales@eglobalre.net:

Yes, we received the money pls give me detailed address, recipient name and telephone
number for shipping. ,
Kind Regards,

Gordon

www.globalre.net

WhatsApp: +86 18117528156

154. On July 17, 2017, Affiant, acting in an undercover capacity, placed a consensually
recorded telephone call to BIN WANG on BIN WANG’s cell phone, 617-935-2742. This is the
same cell phone that Affiant been GPS tracking. Affiant spoke to WANG and complained
_ about his missing delivery. On the call, Affiant said that he had obtained WANG?’s phone

number from a prior parcel that WANG sent to “John O’Neill. ” Affiant mentioned GORDON
JIN, his missing order through sales@globalrc.net, and receiving prior deliveries from BIN
WANG and WONDA SCIENCE. WANG did not dispute the information and instead took
down Affiant’s information to look for the missing order. WANG directed Affiant to forward
him an email about the missing order to WANG’s email, bwang@cambridgechem.com, an
email address linked to Cambridge Chemicals, the same company that had shipped Affiant a
package of synthetic opioid U-47700 in December, 2016.
155. On July 17, 2017, after speaking with Affiant as “John O’Neill”, Boston DEA
Agents observed WANG exit 5 Walnut Hill Park in Woburn, Massachusactts and travel to the
FedEx store located in Woburn, Massachusetts, the same FedEx facility that WANG had

shipped the 4-CL-PVP to Affiant in February, 2017. Agents observed WANG send out three

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FedEx packages to two individuals at three addresses in the West Palm Beach, Florida area.
Affiant and Boston DEA Agents called ahead to Florida DEA agents, who subsequently seized’
the packages and opened them, Upon opening, agents discovered approximately four kilograms
of suspected synthetic cathinones, or “bath salts”. Laboratory analysis for these three packages
is pending at this time.

156. On July 19, 2017, Affiant saw pursuant to the ping warrant that WANG traveled
to midtown Manhattan, As stated earlier, WANG has no lawful employment in the United
States due to the limitations on his NAFTA visa. WANG has made other significant purchases
in the last few months, such as frequent flights to China.

157. Affiant learned on July 17 that the undercover purchase on | kilogram of ADB-
FUBINACA that Affiant had ordered from GORDON JIN had been seized by CBP inspectors
in Indianapolis, Indiana, along with two other large packages of synthetic narcotics, all destined
for BIN WANG at the 5 Walnut Hill Park address in Woburn, Massachusetts.

158. On July 20, 2017, Affiant again placed a consensually recorded telephone call to
BIN WANG at 617-935-2742 in his undercover capacity as “Jack ONeill.” On the call, Affiant
talked to WANG about his package being seized by Customs, to which WANG replied
sarcastically, “Oh...great.” Affiant asked WANG for advice about shipping a replacement
package of FUBINACA from GORDON JIN via DHL, and WANG advised Affiant to have the
package shipped directly to Affiant directly instead of to WANG. WANG, who is a chemist by
trade, in no way indicated surprise when Affiant mentioned the controlled substance. Affiant
also mentioned that he had concerns that CBP could intercept and seize the replacement parcel.

WANG again did not indicate any surprise, but instead laughed about it.

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159, On July 21, 2017, Affiant learned at approximately 9 a.m. that WANG booked a
last-minute flight to Toronto, Canada that departs Boston at approximately 12:10 p.m. Eastern
time. The flight was technically “round trip,” but the return flight was flying back to the United
States on the same day and only a short time after he landed.

160. Affiant respectfully submits that there is probable cause establishing that
GORDON JIN, BING WANG, and others currently known and unknown, are members of a
conspiracy designed to distribute controlled substances and its analogues into the United States
in violation of Title 21, United States Code, Section 841(a)(1), that is, knowingly and
intentionally manufacturing, distributing and possessing with the intent to distribute controlled
substances and analogues of the same, such as U-47700, 4-CL-PVP, Dibutylone, UB-AMB,

’ ADB-FUBINACA, and ADB-FUBINACA Title 21, United States Code, Section 843(b), that is,
knowingly and intentionally using a communications facility in furtherance of drug trafficking;
Title 21, United States Code, Section 846, that is, attempt and conspiracy to possess with intent
to distribute and distribute controlled substances and analogues of the same, such as U-47700,
4-CL-PVP, Dibutylone, FUB-AMB, ADB-FUBINACA, and ADB-FUBINACA,; Title 21,
United States Code, Section 952, that is importation of controlled substances and analogues of
the same, such as U-47700, 4-CL-PVP, Dibutylone, FUB-AMB, ADB-FUBINACA, and ADB-

FUBINACA; and Title 21, United States Code, Section 545, that is, smuggling goods into the

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United States.

WAS

i
MATTHEW N. FITZPATRICK
Special Agent
Drug Enforcement Administration

SWORN AND SUBSCRIBED TO BEFORE ME THIS 21st DAY OF JULY, 2017, AT
CLEVELAND, CUYAHOGA COUNTY, OHIO.

won ha PARSER
United States Magistrate Judge

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